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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    :
 JAMES RAY EPPS, SR.,                               :
                                                    :
                                 Plaintiff,         :
                                                    :
                  v.                                :   C.A. No. 1:23-cv-00761-MN
                                                    :
 FOX NEWS NETWORK, LLC,                             :
                                                    :
                                 Defendant.         :
                                                    :
                                                    :

                              DECLARATION OF PETER H. KYLE

I, Peter H. Kyle, hereby declare as follows:

           1.    I am an attorney at DLA Piper LLP (US), counsel for the Defendant, and I have

personal knowledge of the facts set forth herein.

           2.    Attached hereto, or available at the following links,1 are true and correct copies of

the following:

                 Exhibit A:     Transcript from Tucker Carlson Tonight (March 7, 2023).2

                 Exhibit B:     DC IRL w Loulz, Baked Alaska Livestream, https://archive.org/

                                details/dc-irl-w-loulz-wv-jm-kpa-mr (January 5, 2020).

                 Exhibit C:     60 Minutes interview of Plaintiff, https://www.youtube.com/

                                watch?v=QHEEGxQKg20 (April 21, 2023).


       1
         Exhibits B, C, D, G, K, L, and R are video exhibits and can be found at the links provided
in this Declaration. See Davis v. Gas Recovery, LLC, No. CV 20-840-SRF, 2023 WL 2043278, at
*3 (D. Del. Feb. 16, 2023) (noting practice of providing exhibits via hyperlink). Defendant will
provide both the Court and Plaintiff with courtesy copies of these videos on a multimedia storage
device via courier.
       2
         Exhibits A, O, P, Q, and V are transcripts of Fox News Network programs, all of which
transcripts are maintained in the ordinary course of business by Fox News Network, LLC.
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          Exhibit D:   January 6 Interview with Ray Epps, Saigon Broadcasting

                       Television Network (SBTN),

                       https://www.youtube.com/watch?v=dhQ2wKwf38c&t=259s

                       (January 6, 2023).

          Exhibit E:   Excerpts of Select Committee to Investigate the January 6th Attack

                       on the U.S. Capitol, U.S House of Representatives, Interview of:

                       Ray Epps (January 21, 2022).

          Exhibit F:   Most Wanted – U.S. Capitol Violence, FBI.gov,

                       https://web.archive.org/web/20210108192454/https://www.fbi.gov/

                       wanted/capitol-violence (January 8, 2021).

          Exhibit G:   Day of Rage: How Trump Supporters Took the U.S. Capitol, The

                       New York Times, https://www.nytimes.com/video/us/politics/

                       100000007606996/capitol-riot-trump-supporters.html (June 30,

                       2021).

          Exhibit H:   Arizona Man went to Washington for day of Capitol riot, appears to

                       talk about plans in video, Arizona Republic,

                       https://www.azcentral.com/story/news/local/arizona/2021/01/11/fbi

                       -capitol-investigation-arizona-trump-supporter/6624406002/

                       (January 11, 2021, 6:51 PM).

          Exhibit I:   Arizona man who was at U.S. Capitol Jan. 6 featured in video

                       during House hearing with AG Merrick Garland, Arizona

                       Republic, https://www.azcentral.com/story/news/local/arizona/

                       2021/10/22/arizona-man-capitol-riot-house-hearings-thomas-



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                       massie-merrick-garland/6135771001/ (October 22, 2021, 6:07

                       PM).

          Exhibit J:   Excerpts of Oversight of the United States Department of Justice:

                       Hearing Before the H. Comm. on the Judiciary, Serial Number

                       117-42, 117 Cong. (October 21, 2021).

          Exhibit K:   Episode 13: Who Is Ray Epps? (feat. Dr. Darren J. Beattie) –

                       Firebrand with Matt Gaetz, gaetz.house.gov,

                       https://gaetz.house.gov/media/videos/episode-13-who-ray-epps-

                       feat-dr-darren-j-beattie-firebrand-matt-gaetz (August 1, 2022).

          Exhibit L:   Senate Judiciary Committee Holds Hearing on Domestic Terrorism

                       Since Jan. 6, Forbes Breaking News, https://www.youtube.com/

                       watch?v=qkQ37UteHFc (January 11, 2022).

          Exhibit M:   January 6th Committee Tweets regarding Plaintiff, Twitter,

                       https://web.archive.org/web/20220112010619/https://twitter.com/J

                       anuary6thCmte/status/1481007564188012544 (January 12, 2022).

          Exhibit N:   How Ray Epps Became the Victim of a Jan. 6 Conspiracy, The

                       New York Times, https://www.nytimes.com/2022/07/13/us/

                       politics/jan-6-conspiracy-theory-ray-epps.html (July 13, 2022).

          Exhibit O:   Transcript from Tucker Carlson Tonight (January 6, 2022).

          Exhibit P:   Transcript from Tucker Carlson Tonight (January 21, 2022).

          Exhibit Q:   Transcript from Tucker Carlson Tonight (July 14, 2022).

          Exhibit R:   Livestreamed Interview of Ray Epps on January 6, 2021,

                       https://archive.org/details/fB344nDisxm8ux5JB (January 6, 2020).



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          Exhibit S:   The Curious Case of James Ray Epps AFO#16 AKA

                       #FedBoomer... Everything Is Not Always As It Seems, Daily Kos,

                       https://www.dailykos.com/stories/2021/10/24/2021857/-The-

                       Curious-Case-Of-Mr-Raymond-Epps-Not-Everything-Is-Always-

                       As-It-Seems (October 24, 2021, 1:00 PM).

          Exhibit T:   Jan. 6 committee dismisses Ray Epps conspiracy theory, issues

                       new subpoenas, NBC News, https://www.nbcnews.com/politics/

                       congress/jan-6-committee-dismisses-ray-epps-conspiracy-theory-

                       issues-new-n1287335 (January 11, 2022, 4:46 PM).

          Exhibit U:   Jan. 6 committee: Provocateur Ray Epps not FBI informant or

                       agent, Washington Examiner, https://www.washingtonexaminer

                       .com/news/jan-6-committee-provocateur-ray-epps-not-fbi-

                       informant-or-agent (January 11, 2022, 4:29 PM).

          Exhibit V:   Transcript from Tucker Carlson Tonight (March 6, 2023).

          Exhibit W:   FBI’s tactics doomed case against men charged in kidnapping plot

                       of     Michigan       governor,     Chicago       Sun     Times,

                       https://chicago.suntimes.com/columnists/2022/4/13/23023950/mic

                       higan-governor-gretchen-whitmer-kidnapping-plot-acquittal-fbi-

                       entrapment-jacob-sullum-column (April 13, 2022, 12:00 PM).

          Exhibit X:   Challenged Broadcasts Before July 10, 2022.




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DATED: August 23, 2023                     DLA PIPER LLP (US)

OF COUNSEL:                                  /s/ Peter H. Kyle
                                           John L. Reed (I.D. No. 3023)
Patrick F. Philbin                         Peter H. Kyle (I.D. No. 5918)
Katherine A. Petti                         1201 N. Market Street, Suite 2100
ELLIS GEORGE CIPOLLONE                     Wilmington, DE 19801
O’BRIEN ANNAGUEY LLP                       Telephone (302) 468-5700
                                           Facsimile (302) 394-2341
2121 Avenue of the Stars, Suite 3000       john.reed@dlapiper.com
Los Angeles, California 90067              peter.kyle@us.dlapiper.com
(310) 274-7100
(310) 275-5697 (Fax)                       Attorneys for Defendant
                                           Fox News Network, LLC
1155 F Street, NW, Suite 750
Washington, DC 20004
(202) 249-6900
(202) 249-6899 (Fax)
pphilbin@egcfirm.com
kpetti@egcfirm.com

Paul D. Clement
Erin E. Murphy
CLEMENT & MURPHY PLLC
706 Duke Street
Alexandria, VA 22314
(202) 742-8900
(703) 997-6207 (Fax)
paul.clement@clementmurphy.com
erin.murphy@clementmurphy.com




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